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 1   Baruch C. Cohen, Esq. (SBN 159455)
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 2           A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
     (323) 937-4501        Fax (888) 316-6107
 4   e-mail: baruchcohen@baruchcohenesq.com

 5   Attorney For Defendant Guy Griffithe

 6

 7                                   UNITED STATES BANKRUPTCY COURT

 8                                    CENTRAL DISTRICT OF CALIFORNIA

 9                                         SANTA ANA DIVISION

10

11    In re                                          Case No. 8:19-bk-12480-TA

12    GUY GRIFFITHE,                                 Adv. 8:19-ap-01202-TA

13            Debtor                                 Before the Honorable Theodor Albert
      _________________________________
14                                                   Chapter 7
      GREGORY WICK,
15                                                   MOTION TO WITHDRAW AS COUNSEL OF
                         Plaintiff                   RECORD FOR DEFENDANT GUY
16                                                   GRIFFITHE; DECLARATION OF BARUCH
      vs.                                            C. COHEN
17
      GUY GRIFFITHE                                  [No Hearing Required per LBR 9013-1(p)(4)]
18
                        Defendant
19

20             TO THE HONORABLE JUDGE THEODORE ALBERT, PLAINTIFF GREGORY

21   WICK AND HIS ATTORNEYS OF RECORD, AND DEFENDANT GUY GRIFFITHE:

22             PLEASE TAKE NOTICE that Baruch C. Cohen, Esq. (hereinafter referred to as “Cohen”),

23   who is the counsel of record herein for the Defendant Guy Griffithe (“Defendant”) will, and

24   hereby does, move for an Order under Local Bankruptcy Rule 2091-1(a)(1) allowing Cohen to

25   withdraw as Defendant’s Counsel in this Adversary Case.

26             This Motion is based upon the grounds that substantial irreconcilable differences have

27   developed and now persist regarding, among other things, the terms of Cohen’s retainer and the

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 1   services to be performed thereunder (the exact nature of which is being withheld so as to ensure

 2   no undue prejudice), such that Cohen is no longer able to effectively represent Defendant’s

 3   interests. Defendant was advised and warned - in writing - of all upcoming deadlines.

 4             This Motion is based upon this Notice, the attached Memorandum of Points and

 5   Authorities and accompanying Declaration of Baruch C. Cohen, and such other evidence and

 6   argument as may be presented at the hearing on this Motion.

 7             PLEASE TAKE FURTHER NOTICE that pursuant to LBR 9013-1(o) no hearing is

 8   required. If you wish to oppose this Motion you must file a written response and request for

 9   hearing with the Court and serve it no later than after the date stated on the Proof of Service of

10   this Motion plus 3 additional days if you were served by mail, electronically, or pursuant to FRCP

11   5(d)(2)(D), (E), or (F). Your opposition must comply with LBR 9013-1(f) and (o). Failure to

12   timely respond may be deemed as acceptance of Motion and withdrawal by Baruch Cohen as

13   Defendant's attorney of record.

14

15   DATED:           February 13, 2020            LAW OFFICE OF BARUCH C. COHEN
                                                   A Professional Law Corporation
16
                                                   By     /S/ Baruch C. Cohen
17                                                 Baruch C. Cohen, Esq.
                                                   Attorney For Defendant Guy Griffithe
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 1   1.        MEMORANDUM OF POINTS & AUTHORITIES

 2             a.     FACTS

 3             Notwithstanding the status of the case, over the last few months, circumstances have

 4   substantially changed between the Defendant and Cohen as to, among other things, the terms of

 5   Cohen’s retainer and the services to be performed thereunder, such that Cohen is no longer

 6   financially able to effectively represent Defendant in this action. Based thereon, Cohen has good

 7   cause in seeking to withdraw from his representation of Defendant, and since the trial on this case

 8   has not been set yet, no prejudice will be inflicted on any party herein. Defendant was advised

 9   and warned - in writing - of all upcoming deadlines.

10             Rule 3-700(c) of the California Rules of Professional Conduct provides, in part, that an

11   attorney may withdraw from representing a client if the client "(d) by other conduct renders it

12   unreasonably difficult for the member to carry out the employment effectively, or ... (f) "breaches

13   an agreement or obligation to the member as to expenses or fees." Based upon Defendant’s

14   conduct as set forth above, it is impossible to effectively, represent Defendant because Defendant

15   is not in compliance with the Retainer Agreement. Moreover, Mr. Cohen chooses to no longer

16   represent Defendant when Defendant is unable to pay Mr. Cohen's fees. There is cause to

17   withdraw when the client fails to pay the required attorney 's fees. Jackie v . Sturkie, 255 F. Supp.

18   2d 1096, 1098 (N.D. Cal. 2003), FTC v. Pacific Medical Clinics, 1992 WL 12177 (S.D.Cal. April

19   9, 1992) Cal. Rules of Prof. Conduct 3-700(C)(l )(f). Feruzzo v. Superior Court, 104 Cal. App. 3d

20   501, 540 (1980). Here, Mr. Cohen is a solo practitioner and cannot afford to finance his clients’

21   expensive litigation.

22             b.     GOOD CAUSE EXISTS TO ALLOW COHEN TO WITHDRAW:

23             Due to various circumstances, the nature and extent of which have not been detailed herein

24   but can be disclosed in chambers should the court requires it, the attorney-client relationship

25   between Defendant and Cohen has broken down irreparably such that Defendant should and must

26   obtain alternative counsel immediately.

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 1          c.     CONCLUSION

 2          For the foregoing reasons, Cohen respectfully requests that this Court grant the within

 3   Motion and issue an Order allowing Cohen to withdraw as Defendant’s attorney of record in the

 4   this adversary immediately.

 5

 6   DATED:        February 13, 2020             LAW OFFICE OF BARUCH C. COHEN
                                                 A Professional Law Corporation
 7
                                                 By     /S/ Baruch C. Cohen
 8                                               Baruch C. Cohen, Esq.
                                                 Attorney For Defendant Guy Griffithe
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 1                           DECLARATION OF BARUCH C. COHEN

 2        I, BARUCH C. COHEN, declare and state as follows:

 3   1.   The facts stated below are true and correct to the best of my personal knowledge and if

 4        called upon to testify to them, I could and would competently do so. I have reviewed my

 5        file, the court dockets for this Adversary Proceeding, and the Defendants's Petition,

 6        Schedules and Statement of Financial Affairs as well as all other documents filed in the

 7        Chapter 7 case and the Adversary case. I am familiar with all of their contents.

 8   2.   I am a member in good standing and eligible to practice before the following courts:

 9        California State Supreme Court; United States Court of Appeals - Ninth Circuit;

10        Bankruptcy Appellate Panel; United States District Courts: Central District of California;

11        Eastern District of California; Northern District of California; and Southern District of

12        California.

13   3.   I am the principal shareholder and President of The Law Office of Baruch C. Cohen, a

14        Professional Law Corporation, located at 4929 Wilshire Boulevard, Suite 940, Los

15        Angeles, California 90010.

16   4.   I represent Defendant Guy Griffithe.

17   5.   This declaration is in support of MOTION TO WITHDRAW AS COUNSEL OF

18        RECORD for Defendant Guy Griffithe.

19   6.   Notwithstanding the status of the case, over the last few months, circumstances have

20        substantially changed between the Defendant and I as to, among other things, the terms of

21        my retainer and the services to be performed thereunder, such that I am no longer

22        financially able to effectively represent Defendant in this action. Based thereon, I have

23        good cause in seeking to withdraw from my representation of Defendant, and since the

24        trial on this case has not been set yet, no prejudice will be inflicted on any party herein.

25        Defendant was advised and warned - in writing - of all upcoming deadlines.

26   7.   I am also a solo practitioner and cannot afford to finance Defendant’s expensive litigation.

27   8.   Due to various circumstances, the nature and extent of which have not been detailed herein

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 1          but can be disclosed in chambers should the court require it, the attorney-client

 2          relationship between Defendant and I have broken down irreparably such that Defendant

 3          should and must obtain alternative counsel immediately.

 4   9.     For the foregoing reasons, I respectfully request that this Court grant the within Motion

 5          and issue an Order allowing me to withdraw as Defendant’s attorney of record in this

 6          adversary immediately.

 7

 8          I declare under penalty of perjury under the laws of the State of California that the

 9   foregoing is true and correct.

10          Executed February 13, 2020, at Los Angeles, California.

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12                                        By      /S/   Baruch C. Cohen
13                                                            Baruch C. Cohen

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR
DEFENDANT GUY GRIFFITHE will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
2/13/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Thomas H Casey (TR)                      msilva@tomcaseylaw.com, thc@trustesolutions.net
United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 2/13/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Gregory Wick, 45159 Vine Cliff St, Temecula, CA 92592


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/13/2020,, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/13/2020                      Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
